     CASE 0:15-cv-04272-WMW-HB Document 32 Filed 09/01/17 Page 1 of 4



                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
Kelvin Lenar Lee,
                    Plaintiff,                Court File No.: 15-cv-4272 (WMW/HB)
      v.
Bryan Castle in his individual capacity       DEFENDANTS’ MOTION IN
as an officer of the Minneapolis Police       LIMINE NO. 1, AND
Department,                                   MEMORANDUM IN SUPPORT
                    Defendant.


                                     MOTION

      Defendant Bryan Castle moves in limine for an Order excluding testimony,

examination, evidence, allegations, and argument regarding an alleged statement

or statements of Josh Tetzloff, a civilian witness, who, to the best of the City’s

knowledge, is not available to testify.



                      MEMORANDUM AND ARGUMENT

      Defendant believes that Plaintiff may seek to argue about and introduce

the statement of civilian witness Josh Tetzloff, who told investigators that, after

Plaintiff fled from police and while Defendant Castle was chasing him on foot,

Castle yelled “Once I catch you, I am gonna fuck you up.” See, MPLS00454.

Neither Plaintiff nor Defendant recalls Defendant making the statement allegedly

heard by Mr. Tetzloff. Pl.’s Dep. 46:18-20; Def.’s Dep. 46:1-3. To the best of the

Defendant’s knowledge, Mr. Tetzloff now resides in Panama City, Panama, and


                                          1
     CASE 0:15-cv-04272-WMW-HB Document 32 Filed 09/01/17 Page 2 of 4



will not be available to testify in this matter. Evidence of Tetzloff’s allegation is

hearsay within hearsay, both layers of which are inadmissible pursuant to Fed.

R. Evid. 802. Therefore, the evidence should be excluded, and all argument that

Castle threatened Plaintiff while chasing him should be prohibited.

      Hearsay is a “statement that (1) the declarant does not make while

testifying at the current trial; and (2) a party offers in evidence to prove the truth

of the matter asserted in the statement.” Fed. R. Evid. 801(c). Unless it falls within

a defined exception or exclusion, hearsay is not admissible evidence. Fed. R.

Evid. 802. A document or other evidence that includes statements allegedly

made by a third person is hearsay within hearsay (also called “hearsay upon

hearsay” or “double hearsay”). See United States v. Sparkman, 500 F.3d 678, 683

(8th Cir. 2007). Hearsay within hearsay is admissible only if “each part of the

combined statements conforms with an exception to the rule [against hearsay].”

Fed. R. Evid. 805; see also Sparkman, 500 F.2d at 683. Testimony from Mr. Tetzloff

about what he allegedly heard Defendant say would be hearsay. In Mr. Tetzloff’s

absence, any references to his statement would be an additional layer of hearsay.

      In United States v. Ortiz, 125 F.3d 630, 632 (8th Cir. 1997), the court deemed

inadmissible a DEA report containing informant’s statements. The report itself

was only a transcript of the informant’s statements, and did not itself meet any

exception, so the court did not have to consider the informant’s statement. Id.

                                          2
     CASE 0:15-cv-04272-WMW-HB Document 32 Filed 09/01/17 Page 3 of 4



Likewise, in Dull v. St. Luke’s Hosp. of Duluth, 21 F. Supp. 2d 1022, 1028 (D. Minn.

1998), the plaintiff alleged that person A told her about a statement person B had

made to person C. This was properly excluded even though the statement from

person B to person C might have met a hearsay exception, because person A’s

statement was offered for the truth of the matter asserted and did not conform

with an exception under Fed. R. Evid. 803. Id. at n.6.

      Similarly here, the statement at issue was allegedly made by Defendant

while pursuing Plaintiff. If Plaintiff offers the statement, he would be attempting

to admit a hearsay statement by Defendant which neither he nor Defendant

heard or recall. This statement would not be offered in conformity with any of

the exceptions to the rule against hearsay under Fed. R. Evid. 803 or 804. Instead,

this statement would only be offered to prove the truth of the matter asserted in

the Mr. Tetzloff’s allegation – that Castle yelled “Once I catch you, I am gonna

fuck you up” and that Castle then acted in conformity with the statement.

Introduction of the statement implicates multiple layers of hearsay – Defendant’s

underlying statement, Mr. Tetzloff’s hearsay allegation about what Defendant

said, and the investigator’s recollection of what Mr. Tetzloff told him. None of

these layers of hearsay permit admission under the standard set out in Fed. R.

Evid. 805. The statement must be excluded as inadmissible hearsay within

hearsay.

                                         3
     CASE 0:15-cv-04272-WMW-HB Document 32 Filed 09/01/17 Page 4 of 4



      Plaintiff might argue that the alleged utterance constitutes statement of a

party opponent, admissible under Fed. R. Evid. 801(d)(2). Defendant contests

that, but the Court need not decided whether or not the utterance is an

admissible statement as, evidence of the statement itself is hearsay. Mr. Tetzloff

is not available to testify that he heard it, and any recording of what Mr. Tetzloff

said is also hearsay.

                                 CONCLUSION


      For the reason stated above, Defendant moves the Court for an order

excluding any testimony, examination, allegations, or argument regarding

statements made by the unavailable witness as to statements he allegedly heard

Castle make.

Dated: September 1, 2017               SUSAN L. SEGAL
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